Case 1:04-cv-01153-.]DT-STA Document 25 Filed 04/26/05 Page 1 of 2 Page|D 30

 

 

554}3{? “~ 00
25 4” 9
. . . /;{;?Q~q m .‘
Umted States Dlstrlct Court I§,<~*~o//g>_ //\ 45
WESTERN DISTRICT oF TENNESSEE ‘-'5‘ op §VUS Dg)Qz//-
Easiem Division '1/40/@@§1`
JUDGMENT IN A ctvIL cASE
BRENDA PASCHALL,
V.
commissioNER oF cAsE NUMBER: 1:04_1153-r/An
sociAL sEcuRnY,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T IS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 4/20/2005, the decision of the Commissioner is REVERSED
and this action is REMANDED to the Commissioner for an award of benefits.

APPROVED:

Z).QM

JA D.TODD ` ' "`
uN ED sTATEs olsTRicT JuDGE

ROBERT R. Di TROL|O
CLERK

tips/03 BY: detect

DATE
DEPUTY CLERK

 

 

This document entered on the docket sheet in compliance

with Rule 58 and/or 79(3) FRcP on l_'l l g 31 § 2 5 3 §

 

thice of Distributicn

This notice confirms a copy cf the document docketed as number 25 in
case 1:04-CV-01153 Was distributed by faX, mail, cr direct printing on
April 28, 2005 tc the parties listed.

ESSEE

 

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Roger Stanfleld

LAW OFFICE OF ROGER STANFIELD
P.O. ch 3338

Jackson, TN 38303--333

Honcrable J ames Tcdd
US DISTRICT COURT

